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                                                                      Judge Richard A. Jones
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 6                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE

 8                                                       No. 2:23-cr-00179-RAJ
        UNITED STATES OF AMERICA
 9
                         v.
10                                                       ORDER MODIFYING BOND

11      CHANGPENG ZHAO,

12                             Defendant.

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             Upon consideration of the Government’s Motion to Modify Bond (Dkt. 63), and
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      Defendant’s Response to the Motion (Dkt. 65), the Court ORDERS the following
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      conditions of release:
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          1. Defendant must remain in the continental United States through the imposition of
17           sentence.
18        2. Defendant must notify Pretrial Services before any travel within the continental

19           United States.
          3. Defendant must surrender his current Canadian passport to a third-party custodian
20
             employed and supervised by his counsel of record. The third-party custodian must
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             retain control over that Canadian passport and must accompany Defendant on any
22
             travel that requires identification documents. Defendant must surrender all other
23
     ORDER MODIFYING BOND (2:23-cr-00179-RAJ)
                                                                       ATTORNEYS AT LAW
                                                                           NEW YORK
              Case 2:23-cr-00179-RAJ Document 71 Filed 03/11/24 Page 2 of 2




 1           current and expired passports and travel documents to his counsel of record, who

 2           may return those documents to defendant only with authorization from Pretrial
             Services or the Court. Defendant may not apply for or obtain a new passport or
 3
             travel document from any country without the Court’s permission.
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             All other conditions of release as listed in Defendant’s Appearance Bond, Dkt. 33,
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      and this Court’s Order granting the Government’s Motion for Review of Magistrate
 6    Judge’s Ruling on Defendant’s Presentencing Travel Restrictions, Dkt. 46, shall remain
 7    unchanged.

 8           SO ORDERED.
             DATED this 11th day of March, 2024.
 9
10                                                    A
11                                                    The Honorable Richard A. Jones
                                                      United States District Judge
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     ORDER MODIFYING BOND (2:23-cr-00179-RAJ)
                                                                      ATTORNEYS AT LAW
                                                                          NEW YORK
